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 Fill in this information to identify your case:
 Debtor 1            Helen                J                      Drouillard
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF LOUISIANA
                                                                                                                    Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                          $2,150.00                                    La. R.S. § 13:3881(A)(7)
2012 Chevrolet Impala (approx. 55,000                                            100% of fair market
miles)                                                                            value, up to any
Line from Schedule A/B: 3.1                                                       applicable statutory
                                                                                  limit

Brief description:                                          $3,000.00                                    La. R.S. § 13:3881(A)(4)
Furniture, linens, appliances, other                                             100% of fair market
household goods                                                                   value, up to any
Line from Schedule A/B:   6                                                       applicable statutory
                                                                                  limit

Brief description:                                           $100.00                                     La. R.S. § 13:3881(A)(4)
Basic clothing                                                                   100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:       11
                                                                                  applicable statutory
                                                                                  limit


3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

         No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           No
           Yes
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Debtor 1      Helen J Drouillard                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,017.76               $1,017.76          La. R.S. § 11:704
Checking account Chase xxxx2716                                             100% of fair market
Social Security and pension funds ONLY                                       value, up to any
(1st exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 17.1                                                 limit

Brief description:                                      $1,017.76                 $0.00            42 U.S.C. § 407
Checking account Chase xxxx2716                                             100% of fair market
Social Security and pension funds ONLY                                       value, up to any
(2nd exemption claimed for this asset)                                       applicable statutory
Line from Schedule A/B: 17.1                                                 limit

Brief description:                                      Unknown                                    La. R.S. § 13-3881(D)
Pension plan, Teacher's                                                     100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 21                                                   applicable statutory
                                                                             limit

Brief description:                                      Unknown                                    11 U.S.C. § 522(b)(3)(C)
Pension plan, Teacher's                                                     100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 21                                                   applicable statutory
                                                                             limit

Brief description:                                      Unknown                                    La. R.S. § 11:704
Pension plan, Teacher's                                                     100% of fair market
(3rd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 21                                                   applicable statutory
                                                                             limit

Brief description:                                      $2,403.35               $2,403.35          La. R.S. § 20:33(1)
Brighthouse annuity                                                         100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 23                                                   applicable statutory
                                                                             limit

Brief description:                                      $2,403.35                 $0.00            11 U.S.C. § 522(b)(3)(C)
Brighthouse annuity                                                         100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 23                                                   applicable statutory
                                                                             limit

Brief description:                                        $0.00                                    La. R.S. § 22:912(A)
Prudential life insurance policy, payout                                    100% of fair market
value $2290.82                                                               value, up to any
Line from Schedule A/B:  31                                                  applicable statutory
                                                                             limit

Brief description:                                        $0.00                                    La. R.S. § 22:912(A)
Mony life insurance policy, current                                         100% of fair market
surrender value $16,585.66                                                   value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit




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Debtor 1      Helen J Drouillard                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,000.00                                  La. R.S. § 8:313
2 burial plots in Michigan                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    53
                                                                             applicable statutory
                                                                             limit



                                                         $9671.11




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